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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            EASTERN DIVISION

UNITED STATES OF AMERICA,          *

                  Plaintiff,       *

v.                                 *      CR. NO.: 15-10011-STA

CALVIN BAILEY,                     *

               Defendant.      *
________________________________________________________________

   ORDER CONTINUING SENTENCING HEARING AND NOTICE OF RESETTING
________________________________________________________________

     PENDING BEFORE THE COURT is the filed motion of Defendant,

Calvin Bailey, to continue the sentencing hearing in the above-

captioned case.    After considering any opposition filed by the

United States of America, and the entire record in this case,

the Court is of the opinion that Defendant’s motion is well-

taken and is, therefore, GRANTED.

     IT IS HEREBY ORDERED that the SENTENCING HEARING in this case

be CONTINUED until the 3rd day of August, 2018, at 11:00 a.m.

     IT IS SO ORDERED, this the 29th day of May, 2018.


                               s/ S. Thomas Anderson
                               S. THOMAS ANDERSON
                               CHIEF UNITED STATES DISTRICT JUDGE
